Case 2:07-md-01873-KDE-MBN Document 17109 Filed 10/15/10 Page 1 of 3

UNITED STATES DISTRICT COURT

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EASTERN DISTRICT OF LOUISIAN US. DISTRIC

EASTERN DISTRICT OF LOUISIANA .

IN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE PRODUCTS SECTION N
LIABILITY LITIGATION

Ent oct 15 2000

THIS DOCUMENT PERTAINS TO LORETTA G. WHYTE
Civil Action No. 09-7831 MACOTRAT a nsez CLERK

Cheryl Treaudo, as Next Friend of C.T, a
minor, et. al.

Vs.

Gulf Stream Coach, Inc., et al.

JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55

Plaintiffs hereby request the Clerk of the Court issue summons in the above-
referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

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Southern District of TX Federal ID No. 5912
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ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 11, 2010

/s/ Robert C. Hilliard

ROBERT C. HILLIARD
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Summons to be issued to the following Defendants:

Gulf Stream Coach, Inc.
Bechtel National Inc.

CH2M Hill Construction, Inc.
Fluor Enterprises, Inc.

Shaw Environmental, Inc
